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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8   United States of America,                          17-MJ-00341-TUC-RCC (BPV)
 9                   Plaintiff,                                ORDER
                                                       CONTINUING PLEA DEADLINE
10           vs.                                              AND TRIAL
11   Scott Daniel Warren,
12                   Defendant.
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14          This case is presently set for a Court trial beginning February 26, 2019. The
15   Defendant filed a motion to continue. The Government has no objection to a continuance.
16   The Court having taken the motion under advisement at proceedings held February 13,
17   2019, and good cause appearing;
18          IT IS ORDERED as follows:
19          1. The date by which the referred magistrate judge hears the change of plea must
20   be no later than April 19, 2019 by 3:00 p.m.
21          2. All motions, unless made during a hearing or trial, shall be in writing and shall
22   be made sufficiently in advance of trial to comply with the time periods set forth in
23   LRCiv. 7.2 and any court order and to avoid any delays in the trial. Pretrial motions may
24   be heard before a magistrate judge and a Report and Recommendation will be provided to
25   the district judge assigned to the case.
26          3. This matter is RESET for a Court trial on Monday, May 6, 2019 at 10:00 a.m.
27          4. Excludable delay under 18 U.S.C. §3161(h)(7) is found to commence on
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 1   February 27, 2019 and end on May 6, 2019. Such time shall be in addition to other
 2   excludable time under the Speedy Trial Act and shall commence as of the day following
 3   the day that would otherwise be the last day for commencement of trial.
 4          5. That any and all subpoenas previously issued shall remain in full force and
 5   effect through the new trial date.
 6          6. Any motion or stipulation to continue the scheduled trial date and change
 7   of plea deadline shall be filed with the Clerk of Court no later than 5:00 p.m.,
 8   Monday, April 22, 2019. Alternatively, by that same deadline, if after consultation
 9   between government and defense counsel it is determined that a motion to continue
10   the scheduled trial date and change of plea deadline will not be filed, government
11   counsel shall notify the Court by an email to the chambers email address that the
12   case and counsel are ready to proceed to trial on the scheduled trial date. The
13   notification shall also include the estimated number of trial days needed to complete
14   the trial.
15          Dated this 14th day of February, 2019.
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